        Case 20-14119-pmm                       Doc      Filed 01/31/24 Entered 01/31/24 14:58:56                                  Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 4
 Debtor 1               Wendell N Calloway
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern                          PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        20-14119
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                            12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A.
 Name of creditor: _______________________________________                                                           5
                                                                                         Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          0 ____
                                                         ____ 6 ____
                                                                2 ____
                                                                     8                   Must be at least 21 days after date       02 18 24
                                                                                                                                   ____/____/_____
                                                                                         of this notice


                                                                                         New total payment:                          183.78
                                                                                                                                   $ ____________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)
                                      number of days in the month changes the amount due
                   Reason for change: ___________________________________________________________________________________
                                               181.31
                   Current mortgage payment: $ _______________                                                 183.78
                                                                                       New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1
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Debtor 1
                  Wendell N Calloway
                 _______________________________________________________
                                                                                                                    20-14119
                                                                                                Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8   _____________________________________________________________
        __________________________
     Signature
          ture
                                                                                                Date
                                                                                                        01 31      24
                                                                                                        ____/_____/________



                                                                                                        Bankruptcy Administrator
                     Michele Green
 Print:             _________________________________________________________                   Title   ___________________________
                    First Name                      Middle Name          Last Name



 Company
                     Santander Bank, N.A.
                    _________________________________________________________


                     450 Penn Street
 Address            _________________________________________________________
                    Number                 Street

                    Reading                            PA        19602
                    ___________________________________________________
                    City                                                 State       ZIP Code


                      484        512      3567                                                          DeftBkr@santander.us
 Contact phone      (______) _____– _________                                                   Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2
                                                           Case 20-14119-pmm                     Doc        Filed 01/31/24 Entered 01/31/24 14:58:56                                      Desc Main
                                                                                                            Document      Page 3 of 4

                                                    Mail Code: 10-421-CN2
                                                    P.O. Box 12646
                                                    Reading, PA 19612                                                                                                       STATEMENT OF ACCOUNT
                                                    Customer Service: 1-877-768-2265
                                                    www.SantanderBank.com                                                                                           Account Number:
                                                                                                                                                                    Statement Date:                          01-26-2024
                                                                                                                                                                    Statement Period From:                   12-27-2023
                                                                                                                                                                    Statement Period Through:                01-26-2024
                                                                                                                                                                    Days in Statement Period:                        31
                                                              130-0.5400 000003BFXATG9 1/2 BIN:0 0-301                                                              Current Balance:                         $14,228.17
                                                              WENDELL CALLOWAY                                                                                      Credit Line Amount:                           $0.00
                                                              6113 CHRISTIAN ST                                                                                     Available Credit:                             $0.00
                                                              PHILADELPHIA PA 19143-2901                                                                            End of Draw Date:                        06-27-2027
                                                   FFTTFTTAFDDDATADAATDATAAAAAFAAFATFFDTTFTATTTAAFTDAADTADAADAFFDADF                                                Minimum Payment:                            $183.78
                                                                                                                                                                    Payment Due Date:                        02-18-2024




                                                                                                              Important Message
                                             Statements produced on or after December 2021 are now available online. To access, please enroll in paperless statements through online
                                                                                                 banking or our mobile app.




                                                                                                                                                                         LY
                                            ACCOUNT BILLING SUMMARY                                                                         ACCOUNT BALANCE SUMMARY
130-0.5400 000003BFXATG9 1/2 BIN:0 0-301




                                           Principal Due                                                  $59.58                           Beginning Balance                                       $14,474.53




                                                                                                                                                             N
                                           INTEREST CHARGE Due                                           $124.20                           Advances                                                       $0.00
                                           Past Due Amount                                                 $0.00                           Payment Received                                             $370.56
                                           Late Charges Due                                                $0.00                           Insurance Premium
                                                                                                                                           O                                                              $0.00
                                           Fees Due                                                        $0.00                           INTEREST CHARGE                                              $124.20
                                           Payment Shortage                                                $0.00                           Late Charges                                                   $0.00
                                           Total Minimum Payment Due                                     $183.78                           Fees                                                           $0.00
                                                                                                                                           Adjustments                                                    $0.00
                                                                                                                          L
                                                                                                                                           Ending Balance                                          $14,228.17
                                                                                                                                           Unapplied Credit Balance                                       $0.00
                                                                                                             A

                                                                                                                       RATE SUMMARY
                                           Periodic Rate                     Periodic Rate                      Annual                                      Daily                         Balance subject to
                                           From                              Through                            Percentage Rate                             Periodic Rate                 Interest Rate
                                                                                    N


                                           12-27-2023                        12-31-2023                         10.2500                                     0.0002808219                  $14,353.22
                                           01-01-2024                        01-26-2024                         10.2500                                     0.0002800546                  $14,289.76

                                                                                       TRANSACTION ACTIVITY SINCE YOUR LAST STATEMENT
                                           Posting Date            Effective Date         Activity Description                                                                             Amount                   Balance
                                                                                   R



                                                                   12-27-2023             BEGINNING PRINCIPAL                                                                                                     $14,353.22
                                           01-16-2024              01-16-2024             PAYMENT RECEIVED - THANK YOU                                                                      $181.31               $14,293.22
                                                                                          TO PRINCIPAL                                                                                       $60.00
                                                             E




                                                                                          ** INTEREST CHARGE **                                                                             $121.31
                                           01-16-2024              01-16-2024             TO PRINCIPAL CURTAILMENT                                                                            $7.25               $14,285.97
                                           01-25-2024              01-22-2024             TO PRINCIPAL CURTAILMENT                                                                          $182.00               $14,103.97
                                                                   01-26-2024             ENDING PRINCIPAL                                                                                                        $14,103.97
                                                            T




                                           ***************************************************************** FEES *******************************************************************
                                                                                          TOTAL FEES THIS PERIOD                                                                                $0.00
                                           IN




                                           ********************************************************** INTEREST CHARGED ***********************************************************
                                                                                          TOTAL INTEREST THIS PERIOD                                                                       $124.20




                                                                                                              Please return this portion with your check.




                                                                                                                          Account Number                      Due Date            Payment Due           Amount Enclosed
                                                                                                                                                            02-18-2024              $183.78

                                             WENDELL CALLOWAY
                                             6113 CHRISTIAN ST
                                             PHILADELPHIA PA 19143-2901



                                             Make Check Payable To:


                                                                      Santander Bank, N.A,
                                                                      P.O. Box 847051
                                                                      Boston, MA 02284-7051
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                            UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
In Re:                                                         Chapter #13
         Wendell N Calloway                                    Case No. 20-14119
                                                               Honorable Patricia M Mayer
Debtor
____________________________________________/

                                  CERTIFICATE
                                            E OFF SERVICE
                                                        E

       I, Michele Green of Santander Bank, N.A., do hereby certify that on January 31, 2024, I
caused to be served a copy of the Notice of Payment Change on the service list below by having a
copy of the same mailed by the first class mail, postage prepaid or other method specified on service
list.

         Signed under the penalties of perjury, this 31st day of January 2024.




                                                               _______________________________
                                                                _____________________
                                                                  _
                                                               Michele Green
                                                               Santander Bank, N.A.
                                                               Bankruptcy Administrator
                                                               450 Penn Street
                                                               Reading, PA 19602
                                                               (484) 512-3567
                                                               Email: DeftBkr@santander.us



VIA US MAIL
Wendell N Calloway
6113 Christian St
Philadelphia, PA 19143

VIA ECF
Kenneth E West
1234 Market St Ste 1813
Philadelphia, PA 19107

Michael A Cibik
mail@cibiklaw.com
